       Case 2:15-cr-00190-KJM Document 617 Filed 10/16/20 Page 1 of 5


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8                               UNITED STATES DISTRICT COURT
9                              EASTERN DISTRICT OF CALIFORNIA
10

11    UNITED STATES OF AMERICA,                   No. 2:15-CR-00190-MCE
12                     Plaintiff,
13          v.                                    ORDER
14    LAURA MARIE PEZZI,
15                     Defendant.
16

17         Defendant Laura Marie Pezzi (“Defendant”) pled guilty to making a false writing in

18   imitation of a lending association document in violation of 18 U.S.C. § 493. She was

19   sentenced on February 1, 2019, to forty-nine (49) months of imprisonment. Presently

20   before the Court is Defendant’s Motion to Vacate and/or Reduce Sentence. ECF No.

21   587. The Government opposes Defendant’s request. ECF No. 606. For the reasons

22   that follow, her Motion is GRANTED.

23         Defendant contends that “extraordinary and compelling circumstances” exist such

24   that she should be released prior to her current anticipated release date in October

25   2022. More specifically, according to Defendant, “[she] qualifies for compassionate

26   release due to the compelling circumstance of the coronavirus pandemic along with her

27   age and her medical vulnerabilities.” Def. Mot. at 1-2. “[Defendant] has underlying

28   health conditions—including severe asthma and arthritis—that, along with her age,
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       Case 2:15-cr-00190-KJM Document 617 Filed 10/16/20 Page 2 of 5


1    dramatically increase the risk of serious illness if she becomes infected with COVID-19.”
2    Id. at 2. She avers that her “asthma is severe enough to have hospitalized her in the
3    past and requires three medications multiple times a day to control.” Id. at 6. Moreover,
4    “[Defendant] also has severe allergies and has been prescribed an epi-pen for
5    emergencies.” Id. Finally, “[Defendant] also suffers from Rheumatoid Arthritis, an auto-
6    immune disease, which may render her more susceptible to infection.” Id. “She requires
7    multiple medications to manage her conditions, including two inhalers to help her
8    breathe and anti-inflammatory medication for her arthritis.” Under certain circumstances,
9    medical conditions such as these may warrant an earlier release from custody.
10          “‘[A] judgment of conviction that includes [a sentence of imprisonment] constitutes
11   a final judgment’ and may not be modified by a district court except in limited
12   circumstances.” Dillon v. United States, 560 U.S. 817, 824 (2010) (alterations in original;
13   quoting 18 U.S.C. § 3582(b)). Those circumstances are delineated in 18 U.S.C.
14   § 3582(c). “Effective December 21, 2018, the First Step Act of 2018 amended 18 U.S.C.
15   § 3582(c)(1)(A) to permit an inmate, who satisfies certain statutorily mandated
16   administrative procedures, to file a motion with the district court for compassionate
17   release.” Riley v. United States, 2020 WL 1819838, at *5 (W.D. Wash. Apr. 10, 2020)
18   (citing 18 U.S.C. § 3582(c)(1)(A)). That statute now provides:
19                 (c) Modification of an imposed term of imprisonment.—
                   The court may not modify a term of imprisonment once it has
20                 been imposed except that—
21                 (1) in any case—
22                 (A) the court, upon motion of the Director of the Bureau of
                   Prisons [(“BOP”)], or upon motion of the defendant after the
23                 defendant has fully exhausted all administrative rights to
                   appeal a failure of the [BOP] to bring a motion on the
24                 defendant's behalf or the lapse of 30 days from the receipt of
                   such a request by the warden of the defendant's facility,
25                 whichever is earlier, may reduce the term of imprisonment
                   (and may impose a term of probation or supervised release
26                 with or without conditions that does not exceed the unserved
                   portion of the original term of imprisonment), after considering
27                 the factors set forth in section 3553(a) to the extent that they
                   are applicable, if it finds that—
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       Case 2:15-cr-00190-KJM Document 617 Filed 10/16/20 Page 3 of 5


1                 (i) extraordinary and compelling reasons warrant such a
                  reduction;
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                  ....
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                  and that such a reduction is consistent with applicable policy
4                 statements issued by the Sentencing Commission . . . .
5    18 U.S.C. § 3582(c)(1)(A)(i).

6          “Thus, the First Step Act amended § 3852(c)(1)(A) to allow prisoners to directly

7    petition a district court for compassionate release, removing the BOP’s prior exclusive

8    gatekeeper role for such motions.” Riley, 2020 WL 1819838, at *5. “The statute now

9    provides the court with authority to reduce a sentence upon the motion of a defendant if

10   three conditions are met: (1) the inmate has either exhausted his or her administrative

11   appeal rights of BOP’s failure to bring such a motion on the inmate’s behalf or has

12   waited until 30 days after the applicable warden has received such a request; (2) the

13   inmate has established ‘extraordinary and compelling reasons’ for the requested

14   sentence reduction; and (3) the reduction is consistent with the Sentencing

15   Commission’s policy statement.” Id. (footnote omitted).

16         The starting point for the policy statement referenced in the third prong is United

17   States Sentencing Guidelines (“USSG”) § 1B1.13, which provides:

18                [T]the court may reduce a term of imprisonment (and may
                  impose a term of supervised release with or without conditions
19                that does not exceed the unserved portion of the original term
                  of imprisonment) if, after considering the factors set forth in 18
20                U.S.C. § 3553(a), to the extent that they are applicable, the
                  court determines that--
21
                  (1)(A) Extraordinary and compelling reasons warrant the
22                reduction; or
23                (B) The defendant (i) is at least 70 years old; and (ii) has
                  served at least 30 years in prison pursuant to a sentence
24                imposed under 18 U.S.C. § 3559(c) for the offense or offenses
                  for which the defendant is imprisoned;
25
                  (2) The defendant is not a danger to the safety of any other
26                person or to the community, as provided in 18 U.S.C. §
                  3142(g); and
27
                  (3) The reduction is consistent with this policy statement.
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       Case 2:15-cr-00190-KJM Document 617 Filed 10/16/20 Page 4 of 5


1           Since Defendant is less than 70 years old and was not sentenced pursuant to 18
2    U.S.C. § 3559(c), she is only “entitled to relief if she demonstrates that (1) extraordinary
3    and compelling reasons warrant a sentence reduction, (2) she is not a danger to the
4    safety of others or the community, and (3) any requested reduction is consistent with the
5    policy statement.” Riley, 2020 WL 1819838, at *6.
6           “The Sentencing Commission’s application notes to this policy statement provide
7    further guidance.” Id. Indeed, the notes explain that “extraordinary and compelling
8    reasons” exist when:
9                  (A) Medical Condition of the Defendant.
10                        ....
11                        (ii) The defendant is—
12                               (I) suffering from a serious physical or medical
                                 condition,
13
                                 (II) suffering from a serious functional or
14                               cognitive impairment, or
15                               (III) experiencing deteriorating physical or mental
                                 health because of the aging process,
16
                                 that substantially diminishes the ability of the
17                               defendant to provide self-care within the
                                 environment of a correctional facility and from
18                               which he or she is not expected to recover.
19   U.S.S.G. § 1B1.13 cmt. n.1 (emphasis added).
20          Here, Defendant contends she suffers from serious physical or medical conditions
21   that make her particularly vulnerable to COVID-19 such that she qualifies for release.
22   The Court agrees.
23          Accordingly, upon motion of the Defendant for a reduction in sentence under 18
24   U.S.C. § 3582(c)(1)(A), and after considering the applicable factors provided in 18
25   U.S.C. § 3553(a) and the applicable policy statements issued by the Sentencing
26   Commission, it is hereby ordered that Defendant’s Motion (ECF No. 587) is GRANTED.
27   Defendant’s previously imposed sentence of imprisonment of forty-nine (49) months is
28   hereby reduced to TIME SERVED.
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       Case 2:15-cr-00190-KJM Document 617 Filed 10/16/20 Page 5 of 5


1           This order is stayed for up to fourteen days, for the verification of Defendant’s
2    residence and/or establishment of a release plan, to make appropriate travel
3    arrangements, and to ensure Defendant’s safe release. Defendant shall be released as
4    soon as a residence is verified, a release plan is established, appropriate travel
5    arrangements are made, and it is safe for Defendant to travel. There shall be no delay in
6    ensuring travel arrangements are made. If more than fourteen days are needed to make
7    appropriate travel arrangements and ensure Defendant’s safe release, the parties shall
8    immediately notify the Court and show cause why the stay should be extended.
9           Under 18 U.S.C. § 3582(c)(1)(A), Defendant is ordered to serve a “special term”
10   of supervised release of twelve (12) months.
11          Defendant’s previously imposed conditions of supervised release apply to the
12   “special term” of supervision, with the following modification:
13                 Defendant shall be monitored for a period of six months, with
                   location monitoring technology, which may include the use of
14                 radio frequency (RF) or Global Positioning System (GPS)
                   devices, at the discretion of the probation officer. Defendant
15                 shall abide by all technology requirements and shall pay the
                   costs of location monitoring based upon their ability to pay as
16                 directed by the probation officer. In addition to other court-
                   imposed conditions of release, Defendant's movement in the
17                 community shall be restricted as follows:
18                 The defendant shall be restricted to her residence at all times
                   except for employment; education; religious services; medical,
19                 substance abuse, or mental health treatment; attorney visits;
                   court appearances; court-ordered obligations; or other
20                 activities as pre-approved by the probation officer; (Home
                   Detention).
21
            The Clerk of the Court is directed to serve this order on the United States
22
     Marshals Service and the Bureau of Prisons.
23
            IT IS SO ORDERED.
24
     Dated: October 16, 2020
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